 Case 18-31466-5-mcr           Doc 61      Filed 01/10/20 Entered 01/10/20 12:58:52               Desc
                                                Page 1 of 2

UNITED STATES BANKRUPTCY COURT                           Hearing Date:           February 4, 2020
NORTHERN DISTRICT OF NEW YORK                            Hearing Time:           10:00 a.m.
_____________________________________                    Hearing Location:       Syracuse, NY
In re:
MARY ELLEN GALLUP,
CHRISTOPHER GALLUP
                                                         Chapter 13
                        Debtors.                         Case No. 18-31466
_____________________________________

                                NOTICE AND MOTION TO DISMISS

NOTICE IS HEREBY GIVEN that this motion will be heard as follows:
         DATE:      February 4, 2020                             TIME: 10:00 a.m.
         PLACE:     U.S. Federal Building & Courthouse, Second Floor Courtroom,
                    100 S. Clinton Street, Syracuse, New York 13261


Pursuant to 11 U.S.C.§1307(c)(6), Mark W. Swimelar, the Chapter 13 Trustee, will move for an Order
dismissing the above-captioned matter for material default by the debtor with respect to a term of a confirmed
plan:


1) The plan was confirmed by Order dated 11/21/2019. The current payment is $1080.00. The term of the
    plan is 60 months.
2) The Debtors are 3.86 months, $4,163.85, in arrears through December 2019. The last payment was
    received on September 23, 2019.
         WHEREFORE, the Trustee respectfully requests that the motion to dismiss be granted, and
such further relief as the Court deems appropriate.
IF YOU INTEND TO OPPOSE THIS MOTION, WRITTEN OPPOSITION MUST BE FILED WITH THE
CLERK OF THE COURT AND SERVED ON MOVANT’S COUNSEL AT LEAST SEVEN (7) DAYS PRIOR TO
THE RETURN DATE. IF YOU DO NOT FILE AND SERVE WRITTEN OPPOSITION, NO HEARING WILL
BE HELD ON THE RETURN DATE AND THE COURT MAY GRANT THE MOTION AS UNOPPOSED.

Dated:    Syracuse, New York                     Mark W. Swimelar, Chapter 13 Trustee
          January 10, 2020
                                                 BY:        /s/ Lynn Harper Wilson
                                                         Lynn Harper Wilson, Staff Attorney
                                                         Bar Roll No. 509576
                                                         250 S. Clinton Street, Suite 203
                                                         Syracuse, New York 13202
                                                         (315) 471-1499
                                                         Email: lhwilson@cnytrustee.com
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                                                     Chapter 13
                        Debtors.                     Case No. 18-31466
_____________________________________

                                  CERTIFICATE OF SERVICE

        Amy E. Militi certifies that she is, and at all times hereinafter mentioned was, an employee in
the office of the Standing Chapter 13 Trustee and over the age of 18 years;

        That on January 10, 2020 she served the within Notice and Motion to Dismiss on the below
named at the address listed below, by depositing a true copy of same enclosed in a post-paid, properly
addressed wrapper under the exclusive custody of the United States Post Office Department in an
official depository within the State of New York:


       MARY ELLEN and CHRISTOPHER GALLUP
       113 NICKS WAY
       SYRACUSE, NY 13209-1165



      And she hereby certifies that she electronically filed the foregoing with the Clerk of the
Bankruptcy Court using CM/ECF system which sent notification of such filing to the following:

       WILLIAM K. HARRINGTON, UNITED STATES TRUSTEE

       RUSSELL WARREN DOMBROW ESQ


                                                   /s/ Amy E. Militi
                                                       Amy E. Militi
